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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

SCOTT DOLEMBA,                                         )
on behalf of plaintiff and the class defined           )
below,                                                 )
                                                       )
                        Plaintiff,                     )              16 C 10651
                                                       )
                 vs.                                   )
                                                       )
FORA FINANCIAL, LLC, and                               )
FORA FINANCIAL HOLDINGS, LLC,                          )
both doing business as “FORA FINANCIAL”,               )
                                                       )
                        Defendants.                    )
                                COMPLAINT – CLASS ACTION

                                         INTRODUCTION

        1.       Plaintiff Scott Dolemba brings this action to secure redress from unlawful

practices engaged in by defendants Fora Financial, LLC and Fora Financial Holdings, LLC, both

doing business as “Fora Financial”. Plaintiff alleges violation of the Telephone Consumer

Protection Act, 47 U.S.C. §227 (“TCPA”) and the Illinois Consumer Fraud Act (“ICFA”).

        2.       The TCPA restricts the use of automated equipment to dial cellular telephones.
                                     VENUE AND JURISDICTION

        3.       This Court has jurisdiction under 28 U.S.C. §§1331 (federal question),

1337 (commerce), and 1367 (supplemental jurisdiction).

        4.       Venue and personal jurisdiction in this District are proper because:

                 a.     Defendants’ communications were received by plaintiff in this District;

                 b.     Defendants transact business within this District.
                                               PARTIES

        5.       Plaintiff Scott Dolemba is an individual who resides in the Northern

District of Illinois.

        6.       Defendant Fora Financial, LLC, is a New York limited liability company with its


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office located at 242 W. 36th Street, 14th Floor, New York, New York 10018.

       7.      Defendant Fora Financial Holdings, LLC is a New York limited liability company

with its office located at 242 W. 36th Street, 14th Floor, New York, New York 10018.

       8.      Defendant Does 1-10 are other persons responsible for the calls detailed below.
                                             FACTS

       9.      On September 13, 2016, at 12:01 p.m. plaintiff received a telephone call on his

cell phone from 917-993-7550. (Exhibit A)

       10.     On September 13, 2016, at 12:18 p.m. plaintiff received a telephone call on his

cell phone from 917-993-7421. (Exhibit B) Later the same day, plaintiff received another

telephone call on his cell phone from 917-993-7421 at 2:17 p.m. (Exhibit D)

       11.     When dialed, the number 917-993-7550 is answered with a voicemail message,

which begins, “Thank you for calling Fora Financial.”

       12.     Later on September 13, 2016, plaintiff received an email from “Fora Financial”

offering its services. (Exhibit C)

       13.     On September 14, 2016, plaintiff received 3 telephone calls on his cell phone

from 917-993-7421. (Exhibit D)

       14.     On September 14, 2016, plaintiff received an email from “Fora Financial”

offering its services. (Exhibit E)

       15.     On September 19, 2016, at 9:25 a.m. plaintiff received another call on his cell

phone. After answering, there was a brief pause, after which plaintiff was connected with a

“Dan” of Fora Financial, who offered plaintiff a loan. (Exhibit F)

       16.     On October 28, 2016, plaintiff received 3 additional telephone calls on his cell

phone from 917-993-7561. (Exhibit G) The call at 2:28 p.m. left a voicemail message. The

voicemail message stated:

       Hey Scott. Sorry about that my phone disconnected for some reason. If you want to give
       me a call back my direct line is 917-993-7561. That’s straight to my desk. Um, I’m with
       Fora Financial. I’ll shoot you over a little email as well. But I’ll try to follow up with
       you here in a little bit. Ok? I’ll talk to you soon. Bye.

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        17.     The October 28, 2016 call at 4:08 p.m. was answered by a live caller who

identified themself as calling from Fora Financial. (Exhibit G)

        18.     On October 28, 2016, plaintiff received an email from “Fora Financial” offering

its services. (Exhibit H)

        19.     Defendants placed the phone calls to plaintiff’s cell phone.

        20.     Defendants, by using the single trade name “Fora Financial”, make it impossible

to distinguish between them.

        21.     Plaintiff may have received other calls from Defendant as well.

        22.     On information and belief, the calls were placed using a predictive dialer.

Predictive dialers place calls without human intervention until a connection is made. The

machine “predicts” when a human is likely to be available to take the call if answered.

        23.     When plaintiff answered the calls, there was a pause. This is a common feature of

a predictive dialer – sometimes a call is placed by the device when no one is available to take the

call if it is answered.

        24.     Plaintiff did not authorize the automated placement of calls to his cell phone.

        25.     Plaintiff may have received other automated calls from the same source.

        26.     Plaintiff did not furnish his cell phone number to defendants.

        27.     Plaintiff and each class member is entitled to statutory damages.

        28.     Defendants violated the TCPA even if their actions were only negligent.

        29.     Defendants should be enjoined from committing similar violations in the future.
                                        COUNT I – TCPA

        30.     Plaintiff incorporates paragraphs 1-29.

        31.     The TCPA, 47 U.S.C. §227, provides:
                § 227. Restrictions on use of telephone equipment

                . . . (b) Restrictions on use of automated telephone equipment.

                  (1) Prohibitions. It shall be unlawful for any person within the United
                States, or any person outside the United States if the recipient is within the

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               United States–

                          (A) to make any call (other than a call made for emergency
                       purposes or made with the prior express consent of the called party)
                       using any automatic telephone dialing system or an artificial or
                       prerecorded voice–

                                     (iii) to any telephone number assigned to a paging service,
                               cellular telephone service, specialized mobile radio service, or
                               other radio common carrier service, or any service for which
                               the called party is charged for the call; . . .

       32.     The TCPA, 47 U.S.C. §227(b)(3), further provides:

               Private right of action.

               A person or entity may, if otherwise permitted by the laws or rules of court
               of a State, bring in an appropriate court of that State–

                       (A) an action based on a violation of this subsection or the regulations
                       prescribed under this subsection to enjoin such violation,

                       (B) an action to recover for actual monetary loss from such a
                       violation, or to receive $500 in damages for each such violation,
                       whichever is greater, or

                       (C) both such actions.

               If the Court finds that the defendant willfully or knowingly violated this
               subsection or the regulations prescribed under this subsection, the court
               may, in its discretion, increase the amount of the award to an amount equal
               to not more than 3 times the amount available under the subparagraph (B) of
               this paragraph.

       33.     Defendants violated the TCPA by placing automated calls to plaintiff’s phone.

       34.     On information and belief, Defendants have willfully or knowingly violated the

TCPA by continuing to make calls to cell phones using an automated dialer or a prerecorded

voice after being served with a complaint alleging similar violations in Schopp v. Fora Financial

Holdings, LLC, 4:16-cv-00128-ALM-KCJ (E.D. Tex.).
                                    CLASS ALLEGATIONS

       35.      Plaintiff brings this claim on behalf of a class, consisting of (a) all persons (b)

who, on or after February 6, 2016, (c) received calls from defendants on their cell phones, (d)

placed using an automated dialer or a prerecorded or artificial voice.

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       36.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

       37.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

               a.      Whether defendants engaged in a pattern of using automated equipment to

                       place calls to cellular telephones;

               b.      The manner in which defendants obtained the cell phone numbers; and

               c.      Whether defendants thereby violated the TCPA.

       38.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff’s counsel has any interests which might cause them not

to vigorously pursue this action.

       39.     A class action is an appropriate method for the fair and efficient adjudication of

this controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendants is small because it is not economically feasible to bring

individual actions.

       40.     Several courts have certified class actions under the TCPA: Meyer v. Portfolio

Recovery Associates, LLC, 707 F.3d 1036 (9th Cir. 2012); Manno v. Healthcare Revenue

Recovery Group, LLC, 289 F.R.D. 674 (S.D.Fla. 2013); Mitchem v Illinois Collection Serv., 271

F.R.D. 617 (N.D.Ill. 2011); Balbarin v. North Star Capital Acquisition, LLC,, 10 C 1846, 2011

U.S. Dist. LEXIS 686 (N.D. Ill., Jan. 5, 2011), later opinion, 2011 U.S. Dist. LEXIS 5763

(N.D.Ill., Jan. 21, 2011), later opinion, 2011 U.S. Dist. LEXIS 58761 (N.D. Ill., June 1, 2011);

Lo v. Oxnard European Motors, LLC, 11CV1009 JLS (MDD), 2012 U.S. Dist. LEXIS 73983

(S.D.Cal., May 29, 2012); Sadowski v. Med1 Online, LLC, 07 C 2973, 2008 U.S. Dist. LEXIS

41766 (N.D.Ill., May 27, 2008); CE Design Ltd. v Cy's Crabhouse North, Inc., 259 F.R.D. 135


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(N.D.Ill. 2009); Targin Sign Sys. v Preferred Chiropractic Ctr., Ltd., 679 F. Supp. 2d 894

(N.D.Ill. 2010); Garrett v. Ragle Dental Lab, Inc., 10 C 1315, 2010 U.S. Dist. LEXIS 108339,

2010 WL 4074379 (N.D.Ill., Oct. 12, 2010); Hinman v. M & M Rental Ctr., 545 F.Supp. 2d 802

(N.D.Ill. 2008); Clearbrook v. Rooflifters, LLC, 08 C 3276, 2010 U.S. Dist. LEXIS 72902 (N.D.

Ill. July 20, 2010) (Cox, M.J.); G.M. Sign, Inc. v. Group C Communs., Inc., 08 C 4521, 2010

U.S. Dist. LEXIS 17843 (N.D. Ill. Feb. 25, 2010); Holtzman v. Turza, 08 C 2014, 2009 U.S.

Dist. LEXIS 95620 (N.D.Ill., Oct. 14, 2009); Kavu, Inc. v. Omnipak Corp., 246 F.R.D. 642

(W.D.Wash. 2007); Display South, Inc. v. Express Computer Supply, Inc., 961 So.2d 451, 455

(La. App. 1st Cir. 2007); Display South, Inc. v. Graphics House Sports Promotions, Inc., 992 So.

2d 510 (La. App. 1st Cir. 2008); Lampkin v. GGH, Inc., 146 P.3d 847 (Ok. App. 2006); ESI

Ergonomic Solutions, LLC v. United Artists Theatre Circuit, Inc., 203 Ariz. (App.) 94, 50 P.3d

844 (2002); Core Funding Group, LLC v. Young, 792 N.E.2d 547 (Ind.App. 2003); Critchfield

Physical Therapy v. Taranto Group, Inc., 293 Kan. 285; 263 P.3d 767 (2011); Karen S. Little,

L.L.C. v. Drury Inns. Inc., 306 S.W.3d 577 (Mo. App. 2010); Travel 100 Group, Inc. v. Empire

Cooler Service, Inc., 03 CH 14510 (Cook Co. Cir. Ct., Oct. 19, 2004); Rawson v. C.P. Partners

LLC, 03 CH 14510 (Cook Co. Cir. Ct., Sept. 30, 2005); Nicholson v. Hooters of Augusta, Inc.,

245 Ga.App. 363, 537 S.E.2d 468 (2000).

       41.     Management of this class action is likely to present significantly fewer difficulties

than those presented in many class actions, e.g. for securities fraud.

       WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendants for:

                       (a)     Statutory damages;

                       (b)     An injunction against the further violations;

                       (c)     Costs of suit; and

                       (d)     Such other or further relief as the Court deems just and proper.
                     COUNT II – ILLINOIS CONSUMER FRAUD ACT


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        42.     Plaintiff incorporates paragraphs 1-29.

        43.     Defendants engaged in unfair acts and practices, in violation of ICFA § 2, 815

ILCS 505/2, by making an unauthorized robocall to plaintiff’s cell phone.

        44.     Defendants’ conduct is contrary to public policy, as set forth in the TCPA.

        45.     Plaintiff suffered damages as a result of receipt of the call.

        46.     Defendants engaged in such conduct in the course of trade and commerce.

        47.     Defendants should be enjoined from committing similar violations in the future.
                                     CLASS ALLEGATIONS

        48.     Plaintiff brings this claim on behalf of a class, consisting of (a) all persons with

phone numbers in the Illinois area codes (b) who, on or after February 6, 2016, (c) received calls

from defendants on their cell phones, (d) placed using an automated dialer or a prerecorded or

artificial voice.

        49.     The class is so numerous that joinder of all members is impractical. Plaintiff

alleges on information and belief that there are more than 40 members of the class.

        50.     There are questions of law and fact common to the class that predominate over

any questions affecting only individual class members. The predominant common questions

include:

                a.      Whether defendants engaged in a pattern of using automated equipment to

                        place calls to cellular telephones;

                b.      The manner in which defendants compiled or obtained their list of

                        telephone numbers; and

                c.      Whether defendants thereby violated the ICFA.

        51.     Plaintiff will fairly and adequately protect the interests of the class. Plaintiff has

retained counsel experienced in handling class actions and claims involving unlawful business

practices. Neither plaintiff nor plaintiff’s counsel has any interests which might cause them not

to vigorously pursue this action.


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           52.         Plaintiff’s claims are typical of the claims of the class members. All are based on

the same factual and legal theories.

           53.         A class action is the superior method for the fair and efficient adjudication of this

controversy. The interest of class members in individually controlling the prosecution of

separate claims against defendant is small because it is not economically feasible to bring

individual actions.

           54.         Management of this class action is likely to present significantly fewer difficulties

that those presented in many class actions, e.g. for securities fraud.

           WHEREFORE, plaintiff requests that the Court enter judgment in favor of plaintiff and

the class and against defendants for:

                                   (a)         Statutory damages;

                                   (b)         An injunction against further violations;

                                   (c)         Costs of suit;

                                   (d)         Such other or further relief as the Court deems just and proper.



                                                                s/ Daniel A. Edelman
                                                                Daniel A. Edelman



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                          NOTICE OF LIEN AND ASSIGNMENT

        Please be advised that we claim a lien upon any recovery herein for 1/3 or such amount
as a court awards. All rights relating to attorney’s fees have been assigned to counsel.



                                            s/ Daniel A. Edelman
                                            Daniel A. Edelman


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